          Case 8:05-cr-00530-JSM-E_J Document 527 Filed 01/08/07 Page 1 of 8 PageID 1464
A 0 245B (Rev 06/05) Sheet 1 - Judpent in a Criminal Case


                              UNITED STA TES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DNISION



UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                                                                CASE NUMBER: 8:05-cr-530-T-30EAJ
                                                                USM NUMBER: 48375-018
vs.


RIGOBER'I'O SAME. JK.

                                                                Defendant's Attorney: Joseph Roseubaum, ret.

THE DEFENDANT:

X pleaded guilty to count(s) ONE of the Indictment.
-
- pleaded nolo contendere to count(s) which was accepted by the c o w .
- was found guilty on count(s) after a plea of not guilty.


TITLE & SECTION                      NATURE OF OFFENSE                           OFFENSE ENDED

                                     Conspiracy to Possess with the Intent to    December 15, 2005                  One
                                     Distribute and Distribution of 1,000
                                     or more Marijuana Plants


        The delendant 1s senrenced as provlded in pages 2 through 6 of t h ~ sjudgment. The sel~tenceis mposed pursuant to the
Sentencmg Reform Act of 1984.

- The defendant has been found not guilty on count(s)
      Count(s) (is)(are) dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant must notify the coua and United States Attorney of any material change in economic
circumstances.


                                                                                 Date of Imposition of Sentence January 5 , 2007




                                                                                 DATE: January       K,    2006
           Case 8:05-cr-00530-JSM-E_J Document 527 Filed 01/08/07 Page 2 of 8 PageID 1465
.40 245B (Rev 06/05) Shctlt 2 - Imprisomlent (Judgment in a Criminal Case)
Defendant:          RIGOBERTO SAME, JR.                                                                      Judgment - Page 2 of 6
Case No. :          8:05-cr-530-T-30EAJ

                                                              IMPRISONMENT

        After consideri~igthe advisory se~itenci~ig     guitlelines ant1 all of the factors itlent ilietl in Title 18 U.S.C . S 3
3553(a)(l)-(7), the court l'intls that tlie sentence imposed is sufficient, but 11ot greater than necessary, to comply with
the statutory purposes of seatencing.


           The defendant is hereby coinmitted to the c ~ ~ s t o dofythe United States Bureau of Prisons to be imprisoned
f o r :I total term of OM': I-IUNDED (100) MONTI-TS as to Count O I ol'~tlie Inclictnlenl.




 X The court makes the following recommendations to the Bureau of Prisons: The defendant sh;ill be placed at FCI Coleman
(FL), if possible. The defendant shall participate in the 500 hour intensive drug treatment program while incarcerated.


2The defendant is remanded to h c custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.

           - at - a.m.1p.m. on -.
           - as notitied by the United Stares Marshal.

- The defendant s11a11 surrencler for service of sentence at the institution designated by [lie Burew of Prisons.

           - before 2 p.m. on -.
           - 3s notified by [he Uni~eclStates hhrshal.
           - as notified by the Probation or Pretrial Services Office.




           I have executed this judgment as follows:




                   -
                   -      -




           Defendant delivered on                                                  to

-     at                                                                          , with a certified copy of this judgment.




                                                                                          Dcpuly United States Massha1
         Case 8:05-cr-00530-JSM-E_J Document 527 Filed 01/08/07 Page 3 of 8 PageID 1466
A 0 215B (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in rl Criminal Case)

Defendant:          RIGOBEIITO SAlME, JR.                                                                          Judglnmt - Page 3of (,
Case No.:           8 :05-cr-530-T-30EA.J
                                                           SUPERVISED RELEASE

     Upon release froni i~nprisonment,the clefenclant shall be on supervised release for. a term of FIVE (5)
YEARS as to Count One of the Indictment.
          The defendnnt must report to the probation office in the district to which the defendant is released within 72 hours of release
f'rom tile custody of the Burcnu of Prisons.

The defendant shall not commit another federal, state, or local crime, The defendant shall not unlawfully posscss a controllrd s u b s l : ~ ~ ~ e .
The defendant shall refrain I'som any unlawful use of a controlled substancc. The defendant shall submit lo one druz lest within 13
days of release from imprisonment and at least two periodic drug tests thereafter, as determined by thc court.


X        The defendant shall not possess a firearm, destructive device, or any other dangerous \ve;lpon.

x
-        The defendant shall cooperate in the collection of DNA as directud by the probation ol'ficcr.


            If this judg~nentinlposes a file or restitution it is a condition of supervised release that 111e dcfcndant pay in accordance with
            the Schedule of Payments sheet of this judgment.

            The defendant must coinply with the standard condilions that have been adopted by this court as well as with any additional
            conditions on thc attached page.
                                             ST-ANDARD CONDITIONS OF SCPERVISION
 1)         the defendant sh:ill not leave the judicial district without the permission of the courl or probation officer;

            the defendant shall report to the probation officer and shall submit a truthful anti complete \\ritten rcpost within the first five days of cach
            month;

            thc defendant shall ans\\w truthfully all inquiries by the probation officer and follow the instructions of [lie probation officer:

            the defendant shall support his or ha- dependents and meet other family sospunsibilities:

            the defendant shall work regularly at a lawful occupation, ~tnlsssexcused by thc probation officcr for scliooling, training, or other
            acceptable reasons;

            the defendant shall notify the probation officer at least ten days prior to any changc in residence or employmcnt;

            tho defendan1 shall rcfrr~infroni escessivc use of alcoliol and shall not purch~rsc,possess, use. distributu, or administer any controlled
            substancc or m y par;rphusnalia related to any controlled sitbstances, except :is prcscsibcd by ri physician;

            the defendant shall not l i q u e n t places where controlled substances are illegally sold, used, distributed, or udmin~stercd;

            the defendant shall not associate with any persons engaged in criminal activity and shall not associate \vith any pesson convicted of a
            felony, unless granted permission to do so by the probation officer:

            the defendant shall permit a probation officer to visil him or her at any time at home or clscwherc and shall pcsmit confiscation of any
            contraband obscrvccl in plain view of the probation officer;

            thc dcfcnd:m\ shall notify the probation officer within scvc~ity-twohours o f b c ~ n garrested or qucstionccl by n Iaul enforccmcnt oil'lccr:

            the defendant shall not cnter into any agreement to act as an informer or a special agent of a law enforccmcnt agency without the
            permission of the court; and

            as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal rccosd
            or personal history or characteristics and shall permit the probation officer to ~iiakcsuch notifications and to confirm thc dcfcndant's
            compliance with such notification requirement.
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A 0 2453 (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)

Defendant :       RIGOBERTO SAME, JR.                                                                 Judglnent - Page 4 of
Case No. :        8:05-cr-530-T-30EA.J
                                       SPECLAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:
         Defendant shall participate in a substance abuse program (outpatient and/or inpatient) and l'ollow the probation ofllcer's
         instructions regarding the implementation of this court directive. Further, the defendant shall be required to contribute to
         the costs of services for such treatment not to exceed an amount determined reasonable by the Probation Ol'fice's Sliding
         Scale for Substance Abuse Treatment Services. During and upon the completion of this program, the defendan1 is directed
         to submit to random drug testing, specifically testing for steroid usage, among other illicit substances.
         Thc defendant shall participate as directed in a program of menla1 health treatment approved by the Probation Officer.
         Further, the dekndanl shall be required to contribure to the costs of services for such treatment no1 to ~.sceecl:in m o u n t
         determined reasonable to by Probation Officer based on ability to pay or availability of third parry payment and in
         confornlance with the Probation Office's Sliding Scale for Mental Health Treatment Services.
         The defendant shall cooperate in the collection of DNA as directed by the probation officer.
         Thc mandatory drug testing provisions shall apply pursuant to the Violent Crin~cControl ACI. The Court authorizes random
         drug testing for steroids and illicit substances not to exceed 104 tests per year.
       Case 8:05-cr-00530-JSM-E_J Document 527 Filed 01/08/07 Page 5 of 8 PageID 1468
A 0 2458 (Rev 06/05) Sheet 5   - Criruinal h401icra1-yPenalties (Judgment in a Criminal C m )
Defendant:         RIGOBERTO SAME, JR.                                                           Judgnent - Page 5 of 6
Case No.:          8:05-cr-530-T-3OEA.J

                                            CRIMINAL MONETARY PENALTIES

         The defendant must pay the totd criminal nlonctary penalties under thc schedulc of p y i n w t s on Sheet 6.
                           Asscss~nerlt                             Fine                         Tot;d Kcslitution

         Totals:                                                    Waived


-        The deternlination of restitution is deferred until            .     An Amwded J I I ~ Q I I I ~illI NI I Crimiiml Cclse ( A 0 215C) will
         be entered after such determination.

-        The defendant must make restitution (including coillrnunity restitution) to he following payees in [he anlount listed
         below.
         If the defendant !naljes a partial. payment. each payee shall receive an approxi~natelyproportioned payment, unless
         specified otherwse in the priority order or percentage pa ment column below. However, pursuant to 18 U.S. C. 8
         3664(i), all non-federal victims must be paid before the dninirrd States.


Same of' P a \ w                                 Total Loss'%                 Restitution Orclcrccl                 Priorit v or P e r c e n t a ~ e




                            Totals:

-         Restitution amount ordered pursuant to plea agreement $
-        The defendant must pay interest on a fine or restitution of more than $2,500, unlcss the res~itutionor tine is paid in full
         before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $ 36 1 'L(f'). All of thc payment options on Sheet
         6 may be subject to penalties for delinquency and default, pursuant to 18 U.S .C. 5 36 1 3 ~ ) .
-         The court di.turininrd that the dcfcndant does not have the ability to pay inleresl and it is ordered that:
        -          the interest requirement is waived for the - fine           - restitution.

        -          the interest requirement for the - fine - restihition is ~nodifiedas follo\vs:


* Fiildings for the total :~inountof losses are required under Chapters 109.4, 110, 1 lOA, nnti 113A ol' Title 18 for the of1;lnst.s
co~nmittedon or after Septe111bt.r 13, 1994, but before April 23, 1996.
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A 0 245B (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:        RIGOBERTO SAME, JR.                                                       Juclgmcnt - Page        of 6
C:lse No. :       S:OS-cr-530-T-3OEA.J


                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.         X       Lump sum payment of $ 100.00 due inmediately, balance due
                            -not later than                     ,   or
                             -in accordance - C. - D, - E or - F below; or
B.       -         Payment to begin immediately (may be coinbhed with -C. - D , or -F b s l o ~ ) or
                                                                                                  ;
C.       -         Payinent in equal                (e.g.. weekly, monthly. quarterly) installments of S              over a
                   period of          (e.g., months or years). to comnence              days ( e . g 30 or 60 days) after the
                   date of this judgment: or
D.       -         Payment in equal                (e.g., weekly, monthly, quarterly) installments of $                 over a
                   period of
                                , (e.g.. months or years) to commence                     ( e . g 30 or 60 days) after release
                   from imprisonment to n term of supervision: or
E..      -        Payment during the term of supervised release will commence within                           ( s . g . , 30 or
                  60 days) after release froin imprisonment. The court will set the payment pla~lbased on an assessment uf
          the defendant s ability to pay at that time, or
F.       -         Special instructions regarding the payment of criminal monetary penalties:



Unless the court has expressly ordered otherwise, if ihis judgment imposes imprisonment. p i i y l ~ l of
                                                                                                       ~ tcriminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Frder:il
Bureau of Prisons' Inmate Financial Responsibility Program, are inade to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposcd.
-         Joint and Several
                      and Co-Defendant Names and Case Numbers (including clefendant number), Toral Amount. Joint and
            Defe~~clant
S e ~ e r a Amount,
            l       and corresponding payee, if appropriate:

X
-         The defendant shall forfeit the defendant's interest in the following property to the United States:
            The Court orders that the defendant forfeit to the United States immediately and voluntarilp any and all assets and
property, or portions thereof. subject to forfeiture. which are in the possession or control of the defendant or the
d e f e ~ ~ l a n tnominees.
                   's        The Court makes the Forfeiture Money Judgment rDkt.376J a part of this judgncnt.
Payments shall be applied in the following order: (1) assessnlent, (2) restitution principal, (3) restitution intcresr, (4) fine principal.
( 5 ) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost ol' prosecution and cowl costs.
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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

      UNITED STATES OF AMERICA,

            Plaintiff,

                                                         Case No. 8:05-cr-530-T-30EAJ

      RIGOBERTO SAME, JR.,

             Defendant.


                             FORFEITURE MONEY JUDGMENT

            THIS CAUSE comes before the court upon the filing of the Motion (Dkt. #365)

      of the United States of America for a personal money judgment in the amount of

      $946,000.00 in United States currency, which, upon entry, shall become a final

      order of forfeiture as t o defendant Rigoberto Same, Jr..

            The court hereby finds that $946,000.00 in United States currency is the

      amount of funds obtained by the defendant as a result of his participation in the

      conspiracy as charged in Count One of the Indictment, for which defendant pled

      guilty. Accordingly, it is hereby

             ORDERED, ADJUDGED AND DECREED that for good cause shown, said

      Motion (Dkt. #365) of the United States is hereby GRANTED.

             It is FURTHER ORDERED that pursuant to the provisions 21 U.S.C. 9 853,

      and Fed. R. Crim. P. 32.2(b)(2),defendant Rigoberto Same, Jr. is personally liable

      for a forfeiture money judgment in the amount of $946,000.00 in United States

      currency, which represents the amount of proceeds the defendant obtained as a
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      result of his participation in the conspiracy as charged in Count One of the

      Indictment.

             IT IS FURTHER ORDERED that the United States may seek forfeiture of any

      of the defendant's property up to the total value of the $946,000.00 money judgment

      as substitute assets in satisfaction of the judgment, pursuant to the provisions of 21

      U.S.C. § 853(p).

             The court retains jurisdiction to enter any further orders necessary for the

      forfeiture and disposition of any property, belonging to the defendant, that the United

      States is entitled to seek as substitute assets (up to the amount of the forfeiture

      money judgment), and to entertain any third party claims that may be asserted in

      these proceedings.

             DONE and ORDERED in Tampa, Florida on October 23. 2006.




      Copies to:
      Adelaide G. Few, AUSA
      Counsel of Record

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